                Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 1 of 8



 1                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS
 2                                     EASTERN DIVISION
 3

 4

 5   RAFAEL HUERTA,
                                                           Civil Action No. 1:17 cv 10656-LTS
 6                         Plaintiff,

 7   vs.

 8   NORTHERN PELAGIC GROUP, LLC,
     And MAREL SEATTLE, INC.
 9
                           Defendants.
10
      ANSWER & AFFIRMATVE DEFENSES TO PLAINTIFF’S COMPLAINT AT LAW
11

12
              NOW COMES the Defendant, MAREL SEATTLE, INC., by and through its
13
     attorneys, SCOTT MACHANIC of Cunningham, Machanic, Cetlin, Johnson, Harney &
14

15   Tenney, LLP, and responds to the Plaintiff’s Complaint for personal injuries as follows:

16                                      FACTUAL ALLEGATIONS

17            1.      Defendant Marel lacks sufficient knowledge to admit or deny the allegations in
18
           Paragraph 1 of the Complaint.
19
              2.      Defendant Marel lacks sufficient knowledge to admit or deny the allegations in
20
           Paragraph 2 of the Complaint.
21
              3.      Defendant Marel admits the facts alleged in Paragraph 3 of the Complaint.
22

23            4.      Defendant Marel is without sufficient knowledge and information to either

24         admit or deny the allegations contained in paragraph 4 of the Complaint and, therefore,

25         denies same and demands strict proof thereof.
26
              5.      Defendant Marel is without sufficient knowledge and information to either
27



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 2 of 8



 1      admit or deny the allegations regarding where Plaintiff was working and, therefore, denies
 2      same and demands strict proof thereof. Further answering, Defendant Marel denies that it
 3
        designed, manufactured, marketed, installed, maintained, or modified the alleged machine.
 4
           6.       The allegations contained in this paragraph are denied as a conclusion of law.
 5
        To the extent an answer is required, Defendant Marel denies the allegations in paragraph 6
 6

 7      of the Complaint.

 8         7.       The allegations contained in this paragraph are denied as a conclusion of law.

 9      To the extent an answer is required, Defendant Marel denies the allegations in paragraph 7
10
        of the Complaint.
11
           8.       To the extent that the allegations in paragraph 8 of the Complaint are directed
12
        against Defendant Marel, the same are denied. To the extent that the allegations in
13
        paragraph 8 of the Complaint are not directed against Defendant Marel no answer is
14

15      required.

16         9.       The allegations contained in this paragraph are denied as a conclusion of law.
17      To the extent an answer is required, Defendant Marel denies the allegations in paragraph 9
18
        of the Complaint.
19
           10.      Defendant Marel denies the allegations in paragraph 10 of the complaint.
20
           11.      Defendant Marel denies the allegations in paragraph 11 of the complaint.
21
           12.      Defendant Marel admits that Plaintiff sent a demand letter on or about
22

23     December 14, 2016.

24         13.      Defendant Marel denies the allegations in paragraph 13 of the complaint.

25

26
27



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 3 of 8



 1                               COUNT I – HUERTA VS. NORPEL
 2           The allegations in Count I are not directed at this Defendant, therefore this Defendant
 3   does not respond to Count I. To the extent any allegation is construed to be directed at this
 4
     Defendant each and every allegation is denied.
 5

 6                               COUNT II – HUERTA VS. NORPEL
 7           The allegations in Count II are not directed at this Defendant, therefore this Defendant
 8
     does not respond to Count II. To the extent any allegation is construed to be directed at this
 9
     Defendant each and every allegation is denied.
10
                                COUNT III – HUERTA VS. NORPEL
11

12           The allegations in Count III are not directed at this Defendant, therefore this

13   Defendant does not respond to Count III. To the extent any allegation is construed to be

14   directed at this Defendant each and every allegation is denied.
15
                                 COUNT IV – HUERTA VS.. MAREL
16
             20. Defendant Marel incorporates herein by reference its answers to paragraphs 1
17

18   through 13 above, as though fully set forth herein.

19           21. Defendant Marel denies the allegations in paragraph 21 of the complaint.

20           WHEREFORE, the Defendant, Marel Seattle Inc., denies that it owes Plaintiff any
21   amounts whatsoever and requests that judgment be entered in its favor and against the
22
     Plaintiff, plus its cost of defending this case and such other further relief as this Court deems
23
     just.
24
                                 COUNT V – HUERTA VS. MAREL
25
             22. Defendant Marel incorporates herein by reference its answers to paragraphs 1
26
27   through 13 above, as though fully set forth herein.



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 4 of 8



 1           23. Defendant Marel denies the allegations in paragraph 23 of the complaint.
 2           WHEREFORE, the Defendant, Marel Seattle Inc., denies that it owes Plaintiff any
 3
     amounts whatsoever and requests that judgment be entered in its favor and against the
 4
     Plaintiff, plus its cost of defending this case and such other further relief as this Court deems
 5
     just.
 6

 7                               COUNT VI – HUERTA VS. MAREL

 8           24. Defendant Marel incorporates herein by reference its answers to paragraphs 1

 9   through 13 above, as though fully set forth herein.
10

11           25. Defendant Marel denies the allegations in paragraph 25 of the complaint.

12           WHEREFORE, the Defendant, Marel Seattle Inc., denies that it owes Plaintiff any

13   amounts whatsoever and requests that judgment be entered in its favor and against the
14
     Plaintiff, plus its cost of defending this case and such other further relief as this Court deems
15
     just.
16
                                            JURY DEMAND
17
             Defendant Marel Seattle Inc. demands a trial by jury as to all issues which it is entitled
18

19   to as a matter of right.

20                                   AFFIRMATIVE DEFENSES
21           Now Comes the Defendant, Marel Seattle Inc., by and through counsel, and for its
22
     affirmative defenses to the Plaintiff’s Complaint, states as follows:
23

24                                      First Affirmative Defense
25           Plaintiffs’ Complaint fails to state a claim upon which relief could be granted.
26
27



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 5 of 8



 1                                    Second Affirmative Defense
 2          Plaintiff’s claims are barred by the applicable statute of limitations and the applicable
 3
     statute of repose.
 4
                                      Third Affirmative Defense
 5
            Defendant owed no duty to Plaintiff at the time of Plaintiff’s alleged injuries.
 6

 7                                    Fourth Affirmative Defense

 8          Defendant performed each and every duty owed to Plaintiff.

 9                                     Fifth Affirmative Defense
10
            At all times relevant hereto, Defendant acted in a reasonable and proper manner.
11
                                      Sixth Affirmative Defenses
12
            Plaintiff knowingly and voluntarily assumed the risk.
13
                                     Seventh Affirmative Defense
14

15          Plaintiff’s recovery, if any, shall be reduced or barred consistent with his comparative

16   negligence fault.
17                                    Eighth Affirmative Defense
18
            Any injuries or damages allegedly sustained by Plaintiff were caused through the sole
19
     negligence of the Plaintiff.
20
                                       Ninth Affirmative Defense
21

22          The negligence, if any, on the part of Defendant was not the proximate cause of any

23   injuries or damages allegedly sustained by the Plaintiff.

24                                    Tenth Affirmative Defense
25          Any injuries or damages which may have been sustained by Plaintiff were the result of
26
     an avoidable accident.
27



     #355002
                 Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 6 of 8



 1                                   Eleventh Affirmative Defense
 2          Any injuries or damages which may have been sustained by Plaintiff were the result of
 3
     an obvious danger.
 4
                                     Twelfth Affirmative Defense
 5
            Any injuries or damages which may have been sustained by Plaintiff were the result of
 6

 7   product alteration or modification.

 8                                 Thirteenth Affirmative Defense

 9          The claims of the Plaintiff are barred by his failure to mitigate damages.
10
                                   Fourteenth Affirmative Defense
11
            If the damages of the Plaintiff are true and proven, which is denied, then such damages
12
     were caused by conditions or persons over which the Defendant had no control.
13
                                    Fifteenth Affirmative Defense
14

15          If the damages of the Plaintiff are true and proven, which is denied, then such damages

16   were not caused by any conduct of Defendant, which was secondary and passive, but were
17   caused by the primary and active conduct of third parties over whom the Defendant had no
18
     control.
19
                                    Sixteenth Affirmative Defense
20
            Defendant asserts entitlement to a credit or set-off with respect to all collateral
21

22   payments to Plaintiff for injuries or damages arising from the wrong alleged.

23                                 Seventeenth Affirmative Defense

24          The negligence of other parties, including Plaintiff was a superseding cause of the
25   accident.
26
27



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 7 of 8



 1                                  Eighteenth Affirmative Defense
 2           Defendant did not engage in any unfair or deceptive act or practice and therefore,
 3
     Plaintiff is barred from recovery.
 4
                                    Nineteenth Affirmative Defense
 5
             Plaintiff is estopped to assert his claim due to his own acts or conduct.
 6

 7                                   Twentieth Affirmative Defense

 8           Plaintiff misused the product and, therefore, Plaintiff is barred from recovery.

 9                                 Twenty-First Affirmative Defense
10
             If Plaintiff was damaged as alleged, the Plaintiff failed to act reasonably with respect
11
     to a product which he knew to be defective or dangerous.
12
                                  Twenty-Second Affirmative Defense
13
             Defendant has performed and fulfilled all promises and obligations arising under all
14

15   applicable warranties of merchantability, and therefore, Plaintiff is barred from recovery.

16                                Twenty-Third Affirmative Defense
17           Defendant denies any liability for any implied warranty of merchantability, since all
18
     goods allegedly sold by Defendant was fit for the ordinary purpose for which such goods are
19
     used.
20
                                  Twenty-Fourth Affirmative Defense
21

22           Plaintiff’s claims pursuant to M.G.L. c. 93A are barred as his demand letter was

23   deficient.

24                                 Twenty-Fifth Affirmative Defense
25           Defendant hereby reserves the right to interpose such other and further affirmative
26
     defenses as discovery may disclose.
27



     #355002
               Case 1:17-cv-10656-LTS Document 5 Filed 04/25/17 Page 8 of 8



 1                                              Respectfully submitted,
                                                Marel Seattle, Inc.
 2                                              By its attorneys,
 3

 4                                              _/s/ Scott L. Machanic __________
                                                Scott Machanic BBO #311120
 5                                              Cunningham, Machanic, Cetlin, Johnson,
                                                Harney & Tenney, LLP
 6                                              220 N. Main Street
 7                                              Natick, MA 01760
                                                (508) 651-7524
 8                                              smachanic@cmlaw.net

 9

10                                CERTIFICATE OF SERVICE

11          The undersigned hereby certifies that on April 25, 2017 the foregoing Answer and
     Affirmative Defenses were electronically filed with the Clerk of the Court using the CM/ECF
12   system, and the documents identified herein were mailed to:
13
                          Mark Karsner
14                        Karsner & Meehan, P.C.
                          128 Dean Street
15                        Taunton, MA 02780
16

17

18                                                     /s/ Scott L. Machanic

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     #355002
